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UNITED STATES DlSTRlCT COURT
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

Intersections, lnc., et al.
Plaintiffs,
v. Case No. l:09cv597 (LMB/TCB)
Joseph C. Loornis, et al.,

Defendants.

 

 

REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT
JOSEPH C. LOOMIS’ OBJECTIONS TO DISQUALIFICATION
OF EMIL W. HERICH AND KEATS McFARLAND & WILS()N, LLP

Cornes noW Defendant, Joseph C. Loomis (“Defendant”), and files this Reply to
Plaintiffs’ Response to his Objections to Disqualification of Ernil W. Herich and Keats,
McFarland & Wilson, LLP, stating as follows in support thereof:

I. INTRODUCTION

By misdirection, sleight of hand and by simply asserting it is so, Plaintiffs argue in their
Response to Joe Loornis’ Objections to Disqualit`ication of Emil W. Herich and Keats McFarland
& Wilson LLP (the “Response”) that: (l) Keats McFarland & Wilson, LLP (“KMW”)
“represented” Net Enforcers, lnc. (“NEI”) in connection With the sale of NEI by Defendant
Joseph Loomis to Intersections, Inc.; (2) KMW is “switching sides” to represent Defendant
Joseph Loornis; and (3) absent disqualification there is a cognizable risk that Kl\/[W Will reveal
secrets learned during its post-closing business relationship With NEI to Defendant Joseph
Loomis in violation of a contractual confidentiality provision Plaintiffs also argue that

Defendant’S objections that the l\/lagistrate Judge’s disqualification order runs afoul of the

bankruptcy stay and violates sound decisional authority should be given zero credence.

 

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AS a global matter, it is noteworthy that Plaintiffs’ papers do not cite the key Virginia
Rules of Professional Conduct (1.7 and l.9) until page 15 of their brief. As the Court knows, the
touchstone of the question presented is whether there were two successive, adverse
representations “in the same or a substantially related matter.” Defendant will demonstrate herein
that there is no evidence that KMW ever represented NEI in a matter substantially related to this
action Defendant will also show that Plaintiffs’ assertions to the contrary are based on a
deliberate attempt to blur or smudge KMW’s involvement with the cease and desist letter
program into a representation of NEI in the sales transaction Defendant will also demonstrate
that KMW has never “switched sides.” Indeed, all of KMW’s pre-sale communications
concerning the cease and desist letter program (which Plaintiffs falsely assert are implicated in
this action) were with Defendant, not lntersections. Defendant will also demonstrate that the
confidentiality provision set forth in the business agreement expressly excludes from its
restrictions any information that the recipient is already privy to and, therefore, it has absolutely
no proper bearing on the disqualification proceedings Finally, Defendant will also address and
rebut Plaintiffs’ arguments that the ruling by the Magistrate Judge did not violate the stay of
bankruptcy or the applicable case law.

Prior to turning to the merits, however, Defendant would like to briefly address an
overused weapon in Plaintiffs’ arsenal, i.e., attempts to repeatedly vilify the opposition To pave
the way for their legal arguments, Plaintiffs have continually raised personal, ad hominem
attacks against Defendant, his counsel of record or both. The current Response is no different.
Plaintiffs have argued on two occasions that Attorney Herich failed to disclose his affiliation to
KMW in his pro hac application, the insinuation being that he was wrongfully concealing his “of
counsel” relationship from opposing counsel and/or this Court. Attorney Herich, a California

attorney with an unblemished ethical record, “concealed” nothing. His affiliation with Kl\/IW is

 

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a matter of public record, both on the KMW website and that of the California State Bar, and is
available to anyone who owns a computer He provided a “kmwlaw.com” web address on his
pro hac application which is inconsistent with an attempt to “conceal” an affiliation He
indicated on that application that he is representing Defendant through the auspices of his
personal law offices because that is exactly what he is doing. KMW is not sharing in any of the
income earned on account of his representation of Defendant, except to the extent that Mr.
Herich reimburses Kl\/IW for expenses such as office supplies, postage, copy charges, etc.l

II. ARGUMENT

A. There Remains No Evidence That KMW Represented NEI In A Matter
Substantiallv Related To This Case

“So let it be written, so let it be so,” is the motto and methodology of Plaintiffs’ entire
response to Defendant Loomis’ objections Plaintiffs start the Response with the bold assertion
that “Keats, McFarland & Wilson LLP represented NEI as outside legal counsel in October and
November 2007 in conjunction with lntersections’ acquisition of NEI (the “Acquisition”),
providing legal services to NEI related to its cease and desist letter process which was being
reconfigured.’72 Pl. Response, p. l.

Plaintiffs’ employment of misdirection thus staits with their very first sentence where
they attempt to blur the cease and desist letter program (which is no_t the subject of this litigation)
into the entire acquisition by Intersections of NEl from Defendant Loomis (which is what this

case i_s about). Plaintiffs presented some marginal unauthenticated evidence that KMW provided

 

' Mi‘. Herich has never previously been disqualified in any action Moreover, it should be noted that Mi'.
Herich personally never had any dealings with either NEI or Defendant Loomis until well after this case
was filed. He currently represents l\/lr. Looinis through The Law Offices of Emil Herich in the United
States Bankruptcy Couit for the District of Arizona. Plaintiffs’ attempts to terminate the approval of his
employment in several matters was denied by Order of the Honorable Randolph J. Haines on Septeinber
l6, ZOlO.

2 In fact, Neil Seidinan represented Defendant in the Acquisition Intersections was represented by
Venable, LLP.

 

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legal advice to Defendant at the time he was President, CEO and sole shareholder of NEI about
the cease and desist letter program.3 However, Plaintiffs presented no evidence that KMW
actually performed any legal work related to the closing of the sale of NEI by Defendant to
Intersections.

ln this regard, as referenced on page 5 of Plaintiffs’ response, on October 12, 2007, at
l 1130, Defendant sent KMW’s Larry McFarland an e-mail with several points referenced therein,
including a question concerning the propriety of NEI employees providing certain types of
information to recipients of cease and desist letters Three minutes later, l\/lr. McFarland shot
back an informal e-mail stating: “I agree with everything you just said.” This is the extent of
Plaintiffs’ evidence that KMW actually provided any legal services to NEI. Plaintiffs never
submitted any evidence (because there is no evidence) that KMW represented NEI in the course
of lntersections’ acquisition of that entity from Defendant. At best, the motion to disqualify
should have been denied. At worst, there should have been an evidentiary hearing to determine
what these shards of “evidence” really meant.

1. KMW Never Represented NEI in the Acquisition of NEI Bv Intersections
A cursory review of the complaint reveals that this case is about the alleged fraudulent
misrepresentations by Defendants that allegedly induced lntersections to purchase NEI from

Defendant Loomis To support their disqualification motion, Plaintiffs assert that KMW

 

3 In their response, on multiple occasions Plaintiffs state that the documents relied upon to support the
disqualification were produced by Defendant in discovery and that Attorney Herich stated on the record
that he had no basis for doubting their authenticity These statements are apparently directed to the fact
that Defendant objected to the Court’s consideration of these materials Plaintiffs’ apparent contention is
that Defendant’s production of the documents in discovery and/or the fact that Attorney Herich stated a
lack of basis for doubting their authenticity makes them admissible as evidence. The fact that a document
is produced in discovery, liowever, ceitainly does not make it admissible over a proper hearsay objection
Moreover, it is basic evidence law that it is the burden of the proponent of evidence to establish its
admissibility, it is not the burden of opposing counsel to show that the evidence is inadmissible ln this
case, it was improper to run roughsliod over the hearsay objections by Attorney Herich because the entire
point of the hearsay rule is to have live witnesses so that neither the Court nor the parties are required to
seek justice through unexplained, isolated secondhand comments that are not subject to cross-examination
or redirect examination

 

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undertook responsibilities related to the acquisition of NEI, specifically the preparation of certain
schedules to the Stock Purchase Agreement (“SPA”). See Pl. Response, pp. 6, 12, l7.

Defendant, however, submitted declarations from both Mr. McFarland and l\/lr. Loomis
expressly stating that KMW did not represent NEI in its acquisition by lntersections. l\/lr.
McFarland, a twenty-year lawyer with an unimpeached record for honesty, stated under oath
without any contradiction by any declaration from Plaintiffs as follows:

KMW is an intellectual property and litigation law firm. KMW
does not represent clients in business sales transactions nor does it
do corporate legal work. KMW did not represent NEI in any
manner whatsoever in terms of the closing of the transaction
whereby Mr. Loomis sold his interest in NEI to INTX.

See Declaration of Larry W. McFarland in Support of Motion for Reconsideration, filed with

Defendant’s l\/lotion for Reconsideration of Order Disqualifying Emil W. Herich and Keats

McFarland & Wilson, LLP from Appearing as Counsel of Record, Docket No. 190.4
Similarly, Mr. Loomis, then President, CEO and sole shareholder of NEI, stated:

Exhibit 6 is an e-mail from John Scanlon to various persons and
enclosing a draft “closing checklist” prepared by Plaintiff’s outside
Virginia law firm, Venable, LLP dated October 24, 2007. Once
again, this was not a document I prepared nor did it go to the
public. This document simply states as part of the closing process,
KMW was being asked to provide a form of an engagement letter
between KMW and KMW’s clients and to prepare or approve a
proposed service agreement to be entered into by and between
KMW and NEI. KMW provided no legal work to NEI in terms of
the closing of the sale of NEI to Intersections, lnc.

 

4 Plaintiffs refer to the McFarland and Loomis declarations filed with Defendant’s Motion for
Reconsideration as late-filed and/or new evidence. Because the declarations Were filed as pait of a
motion for reconsideration they are properly before the Court. Indeed, Judge Buchanan’ clerk contacted
the undersigned and wanted to know if the motion for reconsideration should be heard or simply
consolidated with the matters before Judge Brinkema. Not only was the motion for reconsideration
thereby tacitly denied, but Defendant reasonably relied on the fact that the motion for reconsideration
would be heard by Judge Brinkema (as directly evidenced by Judge Brinkema’s scheduling order dated
October 4, 2010 (Docket No. 203) that expressly acknowledges that the motion for reconsideration would
be heard on October 29, 2010). Plaintiffs never once objected to this schedule In any event, Defendant’s
Declarations certainly trump Plaintiffs’ unauthenticated hearsay “evidence” filed the day before the
hearing.

 

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Declaration of Joseph C. Loomis in Support of Motion for Reconsideration filed with
Defendant’s l\/lotion for Reconsideration, Docket No. 190.

Against this evidence, what did Plaintiffs present in terms of declarations‘? Nothing.
Even though each and every one of the officers that Plaintiffs contend received representations
from Mr. McFarland that KMW was representing NEI remain presently employed by Plaintiffs,
including John Scanlon and Neal Dittersdorf, not one of them submitted a declaration stating that
they understood that KMW was representing NEI in connection with the closing of its sale to
Intersections. This is because each of them well knew that the Loomis/NEI lawyer handling the
closing was Neil Seidman, not Larry McFarland. Mr. Seidinan is a partner of Seidman, Prewitt,
DiBello, P.A., and he is not part of KMW.

Moreover, if KMW did represent NEI in this Sl4,000,000-plus corporate acquisition
there would certainly be some evidence of that representation yet Plaintiffs have failed to
produce any such evidence Plaintiffs have produced no retainer letters, no cover letters
transmitting schedules, no e-mails referencing schedules and no KMW work product
whatsoever Plaintiffs, who as a matter of law have a “high standard of proof to meet in order to
prove that counsel should be disqualified”5 do, however, have an explanation for their utter lack
of evidence They again resort to character vilification and allege that Defendant Loomis is an
evidence destroyer and that in November 2007, “he destroyed innumerable NEI files.” Pl.
Response, p. l§. This is a pale and completely inadequate excuse for the failure to submit
evidence from current Intersections employees Mr. Scanlon or Mr. Dittersdorf, among other
possibilities Plaintiffs also fail to mention that they produced an e-mail stating that no electronic

documents were lost and that all of Defendant’s and/or NEI’s files were found to be intact.

 

5 Tessl`er v. Plasl‘ic Surgery Specialists, Inc., 731 F. Supp. 724, 729 (E.D.Va. 1990)

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l\/loreover, if KMW did in fact represent NEI in the acquisition of that corporation by
Intersections, then KMW’s communications would have been to lntersections, not NEI.
Plaintiffs have never yet had the audacity to claim that Defendant, who never worked for
lntersections at all and had no access to its computers or files, somehow destroyed its documents
Plaintiffs’ spoliation excuse is thus exposed as nothing but an attempt to disguise a total lack of
evidence of a representation
2. KMW Did Not Represent NEI In The Letter Writing Service And Even If It
Did, It Would Have Been Impossible for KMW To Obtain Any Confidential
Information Relating To Billing Disputes Because KMW Did Not Start The

Letter Service Until the Day Before the Sale and It Would Have No
Knowledge of NEI’S Post-Sale Billing Practices

In furtherance of their efforts to disqualify Attorney Herich, Plaintiffs allege that KMW
“represented” NEI in connection with the cease and desist letter program. Plaintiffs are aware
that Defendant presented as evidence a signed agreement6 expressly describing the cease and
desist letter program and also expressly stating that the relationship between KMW and NEI was
an independent contractor relationship Undaunted by this fact which disproves their entire
theory that KMW represented NEI in connection with this service, Plaintiffs simply state that the
very same service involved a legal representation before closing and a business relationship after
closing. Pl. Response p. 3. Plaintiffs hope that by this misdirection, sleight of hand and/or
simply strenuously insisting it is so, the Court will believe the illusion of a representation which
in truth never actually existed.

l\/loreover, even if KMW did “represent” NEI in connection with the letter writing
service, which is contrary to the sworn declarations of Mr. McFarland and l\/lr. Loomis, the only
sworn declarations before the Court, it would still be impossible for KMW to obtain any

confidential information concerning this lawsuit that would support disqualification According

 

6 Docket # l85. The Agreement was signed by KMW and NEI on or about November 8, 2007. lt was
signed on behalf of NEI by Defendant.

 

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to the evidence before the Court, the cease and desist letter writing service provided by KMW to
its clients commenced on November 8, 2007. Plaintiffs’ purchase of NEI took place on
November 9, 2007. There is no evidence before the Court that KMW commenced the letter
writing service on November 8, 2009, and generated billings the very next day so that there
could have been an immediate overbilling that, had it been known to Plaintiffs, would have
caused them not to purchase NEI from Defendant.

Plaintiffs’ letter writing service agreement for disqualification is flawed for other obvious
reasons as well. Plaintiffs’ argument is that, after closing, Defendants overbilled and doubled-
billed customers for letters that were not sent or were billed by outside law firms Pl. Response,
p. l6. lgnoring the obvious question of how an event that occurred after the closing can have
any relevance to Plaintiffs’ fraudulent inducement action, there is another obvious problem with
Plaintiffs’ argument Even Plaintiffs admit that after the closing of the sale, KMW’s relationship
with NEI was solely a business relationship - i.e., an independent contractor relationship - not a
legal representation See Pl. Response, pp. l-3 (“Keats McFarland had an attorney-client
relationship with NEI prior to Closing related to the Acquisition and the letter process and a
business relationship after Closing related to the letter process . . .”) Plaintiffs fail to explain
how KMW could have obtained any knowledge about Defendants’ alleged post-closing
overbilling from an attorney-client relationship when, at the time the alleged overbilling
occurred, KMW was admittedly not representing NEl.

Moreover, Plaintiffs fail to explain how KMW could obtain any information about
Defendants’ alleged post-closing overcharging of customers at all since KMW would not be
privy to the billing practices of its independent contractors ln this regard, and credibly, Mr.
McFarland has stated in the declaration filed with Defendant’s opposition to the motion to

disqualify: “. . . l have no knowledge of any billing disputes between NEI and its clients.” See

 

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Declaration of Larry W. McFarland filed with Defendant’s Memorandum in Opposition to
Plaintiffs’ Motion to Disqualify Emil W. Herich and Keats, McFarland & Wilson, LLP, Docket
No. l78. Because (l) the uncontroverted evidence demonstrates that KMW did not represent
NEI concerning the acquisition of that corporation and (2) the alleged (but denied) billing
disputes occurred after closing and at a time that even Plaintiffs concede there was no legal
representation by KMW of NEI, KMW did not represent NEI in a substantially related matter,
and disqualification is clearly improper

B. KMW Did Not “Chan,qe Sides”

Plaintiffs continue their attempt to magically create a conflict of interest out of whole
cloth by asserting that “Keats McFarland . . . now seeks to switch sides and represent Joe Loomis
against NEI in this litigation despite the ethical dilemma.” Plaintiffs never explain how KMW is
switching sides As noted in the objections, all of the pre-closing communications which form
the basis for Plaintiffs’ assertion that KMW represented NEI were with or involved Defendant
and occurred at a time that Defendant was the President, CEO and sole shareholder of NEI.
Thus, even if the Court imputes KMW’s prior relationship with NEI to Attorney Herich, it is
difficult to see how Attorney Herich (who never represented NEI) or KMW is “switching sides.”
As noted above, Plaintiffs do not claim that KMW has represented NEI at any time after the
closing when Intersections was the owner of that corporation Because KMW’s alleged legal
representation of NEI occurred at a time when that corporation was wholly owned and operated
by Defendant Loomis, the Court should reject Plaintiffs’ “switching sides” argument as a basis
for disqualification

C. There Is Nothing In The Confidential Business Relationship Between KMW and
NEI That Supports Disqualification

Plaintiffs assert that the alleged confidential business relationship between KMW and
NEI regarding the “new letter process” somehow precludes Attorney Herich’s representation of

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Defendant. Pl. Response, p. 3. Specifically, Plaintiffs contend that NEl’s business relationship
with KMW “is governed by a written agreement that prohibits the parties from disclosing
confidential information obtained during the course of the now three-year agreement to third
parties, including Joe Loomis” Pl. Response, p. 7. Plaintiffs contend that Attorney Herich’s
representation warrants disqualification under Virginia Rule of Professional Conduct, Rule
l.7(a)(2), because that rule precludes a lawyer from representing a client when such
representation is limited by the lawyer’s responsibilities to . . . a former client or third

person. . .” Pl. Response, p. l6.

Plaintiffs’ argument that the confidential business relationship between KMW and NEI
precludes Mr. Herich’s representation of Defendant Loomis is at least doubly flawed. lt is
flawed in the first place because it is based on the premise that Attorney Herich has a contractual
obligation not to reveal confidential information based on the written agreement between NEI
and KMW. That is not the case. l\/lr. Herich is “of counsel” to the firm KMW; he is not an
owner, member or employee of that firm. He did not execute the Letter Support System Services
Agreement nor is he a third party beneficiary to that contract. As such, he is not bound by the
agreement and its restrictions therefore cannot properly form the basis to disqualify Mr. Herich.

Moreover, by its very terms the Letter Support System Services Agreement has no
implication on the disqualification issue Once again, this is a fraudulent inducement case All
of the alleged wrongdoings have to do with representations supposedly made by Defendant or
acts supposedly committed by Defendant. While KMW could conceivably have information
learned through the business relationship with NEI concerning events occurring after Defendant
departed NEI, none of those events could have any relevance to the pending action which in its
entirety involves acts allegedly committed by Defendant. Given this truism, the confidentiality

provisions of the Letter Support System Services Agreement can have no implication because

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the agreement specifically states “the foregoing [confidentiality] obligations shall not apply to
the extent that any confidential information . . . (iii) was known to the receiving party at the time
of disclosure by the disclosing party, (iv) was generated independently by the receiving party
before disclosure by the disclosing party.” The Letter Support System Services Agreement, thus,
stands for an unremarkable provision that a party is not subject to suit for disclosing something
learned from the receiving party. Thus, by the very terms of the Letter Support System Services
Agreement, there is no restriction on KMW or Attorney Herich disclosing information to
Defendant that he already knows and disqualification on the basis of that agreement is, therefore,
improper7

D. Mr. McFarland’s Inclusion on the Witness List By Defendant Has No Relevance to
the Disqualification Issue

Plaintiffs acknowledge that l\/lr. McFarland could testify as a trial witness and l\/lr. Herich
could still properly represent Defendant provided that Mr. McFarland does not violate Rule l.7
or l.9. Pl. Response, p. l7. Defendant has demonstrated herein that KMW has no confidential
information derived from its representation of NEI that would have any bearing on this case and
therefore there is no risk of violation of Rule l.7 or Rule 1.9.

To demonstrate the contrary, Plaintiffs reach back to the tried and true staple of personal
attacks Plaintiffs respond to Defendant’s position that Mr. McFarland was placed on
Defendant’s witness list for character witness purposes by calling it “Joe Loomis’ excuse du
jour.” Pl. Response, p. l7. Plaintiffs then argue that Keats l\/lcFarland was responsible for
preparing and reviewing certain closing documents such as schedules to the SPA. Yet, Plaintiffs

have not produced one iota of evidence to show that KMW prepared or reviewed any closing

 

7 Defendant Loomis will ignore this but would love to have the opportunity to rebut Plaintiffs’ false claims that he
“knows nothing” about Plaintiffs’ allegations of double billing or overbillings. In this regard, it is Plaintiffs that are
attempting to prevent a trial on their issues by expending hundreds of thousands of dollars to enforce a purported
settlement instead of trying these issues to a jury.

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documents or even that Defendant is disputing the authenticity of the schedules Certainly,
Defendant has provided evidence in the form of the sworn declaration of l\/lr. McFarland that
KMW prepared no closing documents This Honorable Court should ask, once again, why
Plaintiffs did not submit any declarations to the contrary.

Plaintiffs also state that Mr. McFarland has knowledge of NEI’s new cease and desist
letter process - “the very process by which Defendants defrauded Plaintiffs after closing” and
Plaintiffs further state that KMW was the outside law firm that billed certain of NEl’s top
customers for letter services for which Defendants then double-billed the customers Pl.
Response, pp. l7-l 8. Plaintiffs never deposed Mr. McFarland nor was he included on their
witness list. Obviously, if McFarland truly has knowledge of the letter process by which
Defendants allegedly defrauded Plaintiffs and by which Defendants allegedly double-billed
customers, it is extremely unlikely that he would be called as a witness to testify by Defendant.
This very obvious point negates Plaintiffs’ arguments that l\/Ir. McFarland’s inclusion on the
witness list is a proper basis for disqualification lf more proof as to this issue were necessary, as
noted above, l\/lr. McFarland himself has stated that he has no knowledge relevant to any issues
in dispute in this case in general and as to billing disputes in particular. See Declaration of Larry
W. McFarland, jj 4 attached to the l\/lemorandum in Opposition to Plaintiffs’ Motion to
Disqualify Emil W. Herich and Keats McFarland & Wilson, LLP, Docket No. l78.

E. The Magistrate’s Order Was Beyond the Scope of Relief from Stay Sought By
Plaintiffs and Granted Bv the Bankruptcv Court

Plaintiffs assert that Defendant suggests in his objections that this Court “lacks
jurisdiction to decide the Disqualification Motion” Pl. Response, p. 10. This is a straw man
argument because Defendant never said any such thing. What Defendant stated (at pp. lO-ll of
the Objections) was that there was an automatic stay of any litigation against the Debtor.

Defendant further stated that Plaintiffs went to the bankruptcy court and sought a very specific

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and limited relief - “a relief for the limited purpose of seeking a declaration as to the issue of
whether there was a settlement that is enforceable against the Debtor.” Id. at 8. Plaintiffs
violated the stay (and the Magistrate erroneously ignored the violation) by seeking to disqualify
Attorney Herich for any and all purposes The only issue before the Court was whether there
was an enforceable settlement reached in chambers on January 14, 2010, a matter that could have
no “substantial relationship” to anything discussed in Plaintiffs’ memorandum in support of
disqualification

Plaintiffs recognize this gi gantic flaw and attempt to argue that prospective
disqualification was necessary to adjudicate because “the case could be returned to the trial
docket at some point such that Emil Herich and Keats McFarland would be counsel for Joe
Loomis against the former client, NEl, regarding the very Acquisition and letter process upon
which they advised NEI as counsel . . .” Pl. Response, pp. l4-l5. Disqualification on the basis
of unripe hypotheticals is improper.

Plaintiffs’ other asserted basis for avoiding the stay is even more transparently wrong.
Plaintiffs contend that if Defendant were correct concerning the stay’s preclusive effect on
Plaintiffs’ motion, “Joe Loomis would have had to seek approval of the Bankruptcy Court to file
the motion to recuse Magistrate Judge Buchanan,” which he did not. Pl. Response, p. ll.
Because Plaintiffs have competent bankruptcy counsel, Defendant could accuse Plaintiffs of
deliberately trying to mislead the Court were Plaintiffs’ argument not so obviously wrong. lt is
well known that Section 362 places a stay on the actions against a debtor and against a debtor’s
bankruptcy estate Nothing in the express language of Section 362 or any of the multitudes of
cases interpreting it suggest that the Debtor is precluded from pursuing litigation or that the

Debtor must seek relief from stay to pursue litigation Plaintiffs’ obvious misconstruction of the

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law further demonstrates the clear error in their argument and in the Magistrate’s adoption of
their position
F. The Applicable Authorities Demonstrate That Disqualification Is Improper

As discussed in Defendants’ objections, although not addressed by the Fourth Circuit, the
two Circuits considering the matter have each concluded that disqualification of counsel is
improper where the prior relationship involved an entity of which the present client was involved
as a management or control person Allegaert v. Peroz‘, 565 F.2d 246 (2d Cir. 1977); Chrz`srensen
v. United Sl‘ales District Courtfor the Central District ofCalz`fornia, 844 F.2d 694 (9th Cir.
1988).

Plaintiffs argue to the contrary, citing two unpublished decisions, Sharp v. Sharp, 2006
W.L. 3088067 (Va Cir. Ct. Oct. 26, 2006) and Touchcom, Inc. v. BereSkin & Parr, 299 Fed.
Appx. 953 (Fed. Cir. 2008). Plaintiffs also argue that the failure to follow the Allegaert line of
cases is correct because “Virginia Rule of Professional Conduct 1.9 was much broader than the
rule applied in Allegaert.” Pl. Response, p. 19.

Defendant submits that this Court should follow the decisions (including Circuit Court of
Appeals decisions) over the unpublished cases cited by Plaintiffs ln this regard, subsequent
district court decisions have noted that courts have followed the Allegaerr rule of refusing to
disqualify counsel based on confidential information already known by the present client
notwithstanding the breadth of the ethical cannon under consideration See, e.g., Pacheco Ross
Archl`tects, P.C. v. Mz'lchell Assoc., 2009 Lexis 45924 at * 10 (“Howevei', many other courts have
applied the Allegaerl‘ rule notwithstanding its Canon 4 foundation”).

In this regard, this Couit should also follow the judicial weight of the authorities which
have declined to find disqualification appropriate under these facts See Andrion v. Pryor, 537

F.Supp 890, 895 (W.D. Mo. 1982); Nez'man v. Local 144, Hotel Hosp., Nursl`ng Holne &Allz'ea’

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Hedlth Servs Union, 512 F.Supp. 187, 190 (E.D.N.Y. 1981); Williamsburg de Musewn v.
HiSl'oric Figures, ]nc., 501 F.Supp. 326, 330 (D.D.C. 1980), ajj"d sub. nom Nationdl Souvenir
Cenier, Inc. v. Historic Figures, Inc,, 728 F.2d 503 (D.C. Cir. 1984), cert denied Sub. nom C.M,
Uberlndn Enl'ers., Ine. v. Hisl'oric Figures, ]nc., 469 U.S. 825 (1984); Do)ned Stddium Hotel, Inc.
v. Holiddy Inns, ]nc., 479 F. Supp. 465, 468-69 (E.D. La. 1979); Moriz‘z v. Medicdl Protecl‘ive
C0., 428 F.Supp. 865, 874-875 (W.D. Wis. 1977).
III. CONCLUSION

Disqualification of counsel is a very serious matter. The representation of a client by
counsel of his choice is fundamental to our established system of justice Disqualification of
counsel, therefore, must be based on more than argumentative personal attacks, hearsay and
heavily-shaded shaded “facts” Despite the accusations against Defendant, it is ironic that it is he
who is pushing to have his case tried on the merits There was simply no competent evidence
presented to the l\/lagistrate Judge that would warrant attorney disqualification under the law and
the facts as fairly construed ln sum, the Magistrate Judge’s ruling was clearly erroneous and it
should be set aside

Dated: October 27, 2010.

Respectfully submitted,

/s/

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CERTIFICATE OF SERVICE

l hereby certify that on this 27th day of October, 2010, l have filed a true and correct copy of
the foregoing with the Clerk of Court via the Cl\/l/ECF efiling system which will send notification of

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